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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

LUCKY WEAH,                        )
    Plaintiff,                     )
                                   )
      v.                           ) Cause No.: 3:14-cv-01988-PPS-CAN
                                   )
CITY OF SOUTH BEND, INDIANA;       )
SOUTH BEND POLICE DEPARTMENT;      )
SOUTH BEND POLICE OFFICER          )
ANDREW HINES AND SOUTH BEND        )
POLICE OFFICERS CURRENTLY UNKNOWN, )
      Defendants.


               MOTION TO DISMISS THE PLAINTIFF’S FEDERAL-BASED
                CLAIM AGAINST DEFENDANT, CITY OF SOUTH BEND
                             PURSUANT TO 12(b)(6)


        Comes now the Defendant, City of South Bend, and moves to dismiss the Plaintiff’s § 1983

claim against it and in support states the following:

        1.      Liability against a municipality is not actionable in a §1983 claim unless the Plaintiff

can allege some factual content that allows a Court to draw a reasonable inference that it maintained

a policy, procedure, custom, or practice that lead to the outcome.

        2.      The United States Supreme Court and the 7th Circuit Court of Appeals requires a

Plaintiff to provide specific facts to support the legal claims asserted in a Plaintiff’s complaint.

        3.      In his third cause of action, the Plaintiff asserts no factual allegation that supports

his claim that the acts complained of were a result of a City policy, procedure, custom, or practice.

        4.      The Plaintiff has failed to assert a claim against the City in his third cause of action;

he is not entitled to relief as to the particular claim.
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       WHEREFORE, Defendant, City of South Bend, moves to dismiss the Plaintiff’s Federal-

based claims against it pursuant to FRCP 12(b)(6).

                                                     Respectfully submitted,

                                                     /s Jeffrey L. Sanford
                                                     Jeffrey L. Sanford, Atty. No. 14111-71
                                                     Deputy City Attorney
                                                     227 W. Jefferson Blvd., Suite 1200
                                                     South Bend, Indiana 46601
                                                     (574) 235-9241
                                                     Attorney for the Defendants



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document was
served upon Jeffrey E. Kimmell, Attorney for Plaintiff, 218 W. Washington Street, Suite 600, South
Bend, IN 46601 by depositing same in the United States Mail, postage prepaid this 5th day of
November, 2014.
                                                     s/Jeffrey L. Sanford
                                                     Jeffrey L. Sanford




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